 Case 1:22-ap-01010-MT          Doc 28 Filed 03/01/23 Entered 03/01/23 11:35:25            Desc
                                 Main Document Page 1 of 2



1    Jacquelyn H Choi (SBN 211560)
     RIMON, P.C.
2    2029 Century Park East, Suite 400N
     Los Angeles, California 90067-2905                          FILED & ENTERED
3    Telephone: (310) 525-5859
     Facsimile: (310) 525-5859
4    Email: jacquelyn.choi@rimonlaw.com                                MAR 01 2023

5    Attorneys for Plaintiffs, THE PEOPLE OF THE                  CLERK U.S. BANKRUPTCY COURT
     STATE OF CALIFORNIA, by and through                          Central District of California
                                                                  BY egonzale DEPUTY CLERK
6    GEORGE GASCÓN, Los Angeles County
     District Attorney, COUNTY OF LOS ANGELES
7    and LOS ANGELES COUNTY DEPARTMENT
     OF PUBLIC HEALTH ACTING AS THE
8    LOCAL ENFORCEMENT AGENCY

9                               UNITED STATES BANKRUPTCY COURT

10                               CENTRAL DISTRICT OF CALIFORNIA

11                                SAN FERNANDO VALLEY DIVISION

12   In re                                          Case No. 1:21-bk-11781-MT

13   ANDREA LYNN MURRAY,                            Chapter 7

14

15                Debtor.

16                                                  Adv No. 1:22-ap-01010-MT

17   THE PEOPLE OF THE STATE OF                     ORDER GRANTING STIPULATION FOR
     CALIFORNIA, by and through GEORGE              ENTRY OF JUDGMENT IN FAVOR OF
18   GASCÓN, Los Angeles County District            PLAINTIFF COUNTY OF LOS ANGELES
     Attorney, COUNTY OF LOS ANGELES and            FOR NON-DISCHARGEABILITY OF
19   LOS ANGELES COUNTY DEPARTMENT                  DEBTS UNDER 11 U.S.C. §§ 523(a)(6) and
     OF PUBLIC HEALTH ACTING AS THE                 523(a)(7)
20   LOCAL ENFORCEMENT AGENCY,
                                                    [No Hearing Required]
21                Plaintiffs,
                                                    Status Conference:
22           v.                                     Date: May 15, 2023
                                                    Time: 10:00 a.m.
23   ANDREA LYNN MURRAY, and DOES 1-                Place: United States Bankruptcy Court
     10;                                                    21041 Burbank Boulevard
24                                                          Woodland Hills, CA 91367
                  Defendants.
25

26
27
                                                   1
28

29

30
 Case 1:22-ap-01010-MT         Doc 28 Filed 03/01/23 Entered 03/01/23 11:35:25               Desc
                                Main Document Page 2 of 2



1           Upon consideration of the Stipulation for Entry of Judgment In Favor of Plaintiff County of

2    Los Angeles For Non-Dischargeability Of Debts Under 11 U.S.C. §§ 523(a)(6) and 523(a)(7) (the

3    “Stipulation”) by and between plaintiff, County of Los Angeles (the “Plaintiff”) and Andrea Lynn

4    Murray (the “Defendant”), which was filed in the above-captioned adversary proceeding on

5    February 28, 2023 [Adv. Docket No. 25] and good cause appearing therefore, the Court hereby

6    orders as follows: 1

7           1.      The Stipulation is approved;

8           2.      The Plaintiff (by and through the Department of Public Works), is entitled to a non-

9    dischargeable judgment in the amount of $1,634.90 pursuant to 11 U.S.C. §§ 523(a)(6) and

10   523(a)(7);

11          3.      The Plaintiff (by and through the Department of Regional Planning), is entitled to a

12   non-dischargeable judgment in the amount of $2,611.00 pursuant to 11 U.S.C. §§ 523(a)(6) and

13   523(a)(7);

14          4.      For the avoidance of doubt, the total sum of Plaintiff’s non-dischargeable judgment

15   pursuant to 11 U.S.C. §§ 523(a)(6) and 523(a)(7) is $9,245.90 (the “Judgment”); and

16          5.      Post-judgment interest rate shall apply to the Judgment at a rate of ten percent (10%)

17   per annum from the date of entry of this Judgment until paid in full.

18                                           ###

19

20

21

22

23
      Date: March 1, 2023
24

25

26          1
               Unless otherwise defined herein, all capitalized terms shall have the same meaning as
     ascribed to them in the Stipulation.
27
                                                       2
28

29

30
